                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                          CEDAR RAPIDS DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                                 No. CR07-0035-LRR
 vs.
                                                                ORDER
 THEMOUS CORNELIOUS HAWKINS,
               Defendant.

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       This matter is before the court pursuant to the defendant’s motion to reduce sentence
under 18 U.S.C. § 3582(c)(2) (docket no. 130). The defendant filed such motion on
January 26, 2009. In his motion, the defendant acknowledges that he is subject to a
mandatory minimum sentence but argues that the court should still reduce his sentence.
       For the instant matter, the court does not intend to appoint counsel. See United
States v. Legree, 205 F.3d 724, 729-30 (4th Cir. 2000) (concluding that there is no right
to assistance of counsel when pursing relief under 18 U.S.C. § 3582(c)); United States v.
Tidwell, 178 F.3d 946, 949 (7th Cir. 1999) (same); United States v. Townsend, 98 F.3d
510, 512-13 (9th Cir. 1996) (same); United States v. Whitebird, 55 F.3d 1007, 1010-11
(5th Cir. 1995) (same); United States v. Reddick, 53 F.3d 462, 464 (2d Cir. 1995) (same).
Further, the court does not intend to conduct a hearing prior to denying a reduction based
on 18 U.S.C. § 3582(c). See Legree, 205 F.3d at 729-30 (finding that a judge need not
hold a hearing on a motion pursuant to 18 U.S.C. § 3582(c)); Restrepo-Contreras v.
United States, No. 96-1411, 1996 WL 636560, *2, 1996 U.S. App. LEXIS 28844, at *5
(1st Cir. Nov. 4, 1996) (same); Townsend, 98 F.3d at 513 (concluding district court did
not abuse its discretion when it did not hold an evidentiary hearing); United States v.
Dimeo, 28 F.3d 240, 241 n.3 (1st Cir. 1994) (noting that the district court received no


   Case 1:07-cr-00035-LRR-CJW          Document 131      Filed 01/29/09     Page 1 of 4
input from the parties and conducted no hearing before reducing the defendant’s sentence
under 18 U.S.C. § 3582(c)); see also Fed. R. Crim. P. 43(b)(4) (stating that a defendant’s
presence is not required in a proceeding that involves the correction or reduction of a
sentence under 18 U.S.C. § 3582(c)). Additionally, the court concludes that United States
v. Booker, 543 U.S. 220 (2005), does not apply to proceedings under 18 U.S.C. §
3582(c)(2).
       In relevant part, 18 U.S.C. § 3582(c) provides:
              The court may not modify a term of imprisonment once it has
              been imposed except that . . . in the case of a defendant who
              has been sentenced to a term of imprisonment based on a
              sentencing range that has subsequently been lowered by the
              Sentencing Commission pursuant to 28 U.S.C. [§] 994(o),
              upon motion of the defendant or the Director of the Bureau of
              Prisons, or on its own motion, the court may reduce the term
              of imprisonment, after considering the factors set forth in [18
              U.S.C. §] 3553(a) to the extent that they are applicable, if such
              a reduction is consistent with applicable policy statements
              issued by the Sentencing Commission.
18 U.S.C. § 3582(c)(2); see also United States v. Auman, 8 F.3d 1268, 1271 (8th Cir.
1993) (“Section 3582(c)(2) is a provision that permits a district court to reduce a term of
imprisonment if the sentencing range upon which the term was based is subsequently
lowered by the Sentencing Commission.”).
       On November 1, 2007, the Sentencing Commission issued Amendment 706, as
amended by Amendment 711, to USSG §2D1.1.                See generally USSG App. C at
www.ussc.gov. Amendment 706 generally reduces by two levels the offense level that is
applicable to cocaine base (“crack”) offenses. On December 11, 2007, the Sentencing
Commission voted to apply Amendment 706 retroactively to crack offenses, and it set
March 3, 2008 as the date that Amendment 706 could be applied retroactively. The
Sentencing Commission also promulgated amendments to USSG §1B1.10, which sets forth
the conditions that must exist before a defendant is entitled to a sentence reduction as a


                                             2

   Case 1:07-cr-00035-LRR-CJW          Document 131       Filed 01/29/09     Page 2 of 4
result of an amended guideline range. See generally USSG App. C at www.ussc.gov.
New USSG §1B1.10 took effect on March 3, 2008 and, in relevant part, states:
             In a case in which a defendant is serving a term of
             imprisonment, and the guideline range applicable to that
             defendant has subsequently been lowered as a result of an
             amendment to the Guidelines Manual listed in subsection (c)
             below, the court may reduce the defendant’s term of
             imprisonment as provided by 18 U.S.C. § 3582(c)(2). As
             required by 18 U.S.C. § 3582(c)(2), any such reduction in the
             defendant’s term of imprisonment shall be consistent with this
             policy statement.
USSG §1B1.10(a)(1); see also USSG §1B1.10, comment. (n.1) (“Eligibility for
consideration under 18 U.S.C. § 3582(c)(2) is triggered only by an amendment listed in
subsection (c) that lowers the applicable guideline range.”). The Sentencing Commission
included Amendment 706 within subsection (c). USSG §1B1.10(c). Further, on April 16,
2008, the Sentencing Commission promulgated Amendment 715 to USSG §2D1.1 and
USSG §1B1.10, and it set May 1, 2008 as the date that Amendment 715 could be applied
retroactively. See generally USSG App. C at www.ussc.gov. With respect to USSG
§2D1.1, Amendment 715 modifies the commentary, that is, revises the manner in which
combined offense levels are determined in cases involving crack and one or more other
controlled substance. Concerning USSG §1B1.10, the Sentencing Commission deemed
it appropriate to include Amendment 715 within subsection (c). USSG §1B1.10(c).
      Nevertheless, the court is unable to rely on Amendment 706 or Amendment 715 to
reduce the defendant’s sentence. See generally United States v. Wyatt, 115 F.3d 606, 608-
09 (8th Cir. 1997) (explaining requirements under 18 U.S.C. § 3582(c)(2) and USSG
§1B1.10). Previously, the court determined the defendant’s total adjusted offense level to
be 24 and his criminal history category to be IV. Such offense level and criminal history
category correlate with a guideline range of 77 to 96 months imprisonment, but the court
determined that the defendant was subject to a statutorily required minimum sentence. See
21 U.S.C. § 841(b)(1)(B); 21 U.S.C. § 860. Consequently, the court concluded a

                                            3

   Case 1:07-cr-00035-LRR-CJW         Document 131      Filed 01/29/09    Page 3 of 4
guideline range of 120 months imprisonment applied to the defendant.          See USSG
§5G1.1(b) (“Where a statutorily required minimum sentence is greater than the maximum
of the applicable guideline range, the statutorily required minimum sentence shall be the
guideline sentence.”). Because the government never relied on 18 U.S.C. § 3553(e), the
court sentenced the defendant to 120 months imprisonment on count 1 of the indictment.
Here, neither Amendment 706 nor Amendment 715 impact the defendant’s guideline range
because the statutorily required minimum sentence determined his sentence. Accordingly,
a reduction under 18 U.S.C. § 3582(c)(2) and USSG §1B1.10 is not warranted. Cf. United
States v. Peters, 524 F.3d 905, 906-07 (8th Cir. 2008) (concluding statutory mandatory
minimum applied, and, consequently, defendant could not rely on Amendment 706 to
reduce his sentence under 18 U.S.C. § 3582(c)(2)); United States v. Jones, 523 F.3d 881,
882 (8th Cir. 2008) (addressing mandatory minimum sentence). The defendant’s motion
to reduce sentence under 18 U.S.C. § 3582(c)(2) is denied.


      IT IS SO ORDERED.
      DATED this 29th day of January, 2009.




                                           4

   Case 1:07-cr-00035-LRR-CJW         Document 131      Filed 01/29/09   Page 4 of 4
